Case 2:21-cv-03294-PA-JC Document 1 Filed 04/16/21 Page 1 of 12 Page ID #:1




                                                      21-3294
Case 2:21-cv-03294-PA-JC Document 1 Filed 04/16/21 Page 2 of 12 Page ID #:2
Case 2:21-cv-03294-PA-JC Document 1 Filed 04/16/21 Page 3 of 12 Page ID #:3
Case 2:21-cv-03294-PA-JC Document 1 Filed 04/16/21 Page 4 of 12 Page ID #:4
Case 2:21-cv-03294-PA-JC Document 1 Filed 04/16/21 Page 5 of 12 Page ID #:5
Case 2:21-cv-03294-PA-JC Document 1 Filed 04/16/21 Page 6 of 12 Page ID #:6
Case 2:21-cv-03294-PA-JC Document 1 Filed 04/16/21 Page 7 of 12 Page ID #:7
Case 2:21-cv-03294-PA-JC Document 1 Filed 04/16/21 Page 8 of 12 Page ID #:8
Case 2:21-cv-03294-PA-JC Document 1 Filed 04/16/21 Page 9 of 12 Page ID #:9
Case 2:21-cv-03294-PA-JC Document 1 Filed 04/16/21 Page 10 of 12 Page ID #:10
Case 2:21-cv-03294-PA-JC Document 1 Filed 04/16/21 Page 11 of 12 Page ID #:11
Case 2:21-cv-03294-PA-JC Document 1 Filed 04/16/21 Page 12 of 12 Page ID #:12
